      Case 1:20-cv-21108-UU Document 43 Entered on FLSD Docket 06/11/2020 Page 1 of 7


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                                 UNITED STA1TES DISTRICT COURT
                                                                                                         for the
                                                                       Southern District of Florida
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                MARTA REYES, et al.
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                       Plaintiff(s)
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                           V.                                                                                              Civil Action No. 1:20-cv-21108-UU
                                                                                                              )
        PEOPLE'S REPUBLIC OF CHINA, et al.                                                                    )
                                                                                                              )
                                                                                                              )
                                                                                                              )
                      Defendant(s)                                                                            )

                                                       SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address) Hubei Health Commission
                                      Attn.: Wang Hesheng
                                      39 Zhyodaoquan Bei Road, Hongshan District, Wuhan, Hubei, China 430079




         A lawsuit has been filed against you.

         Within 60 days after service of this summon~ on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and
address are:

                                      MATTHEW T. MOORE, ESQ.
                                      THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                      D/B/A BERMAN LAW .GROUP
                                      POST OFFICE BOX 272789
                                      BOCA RATON, FL 33427
        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

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       Case 1:20-cv-21108-UU Document 43 Entered on FLSD Docket 06/11/2020 Page 2 of 7



                                     UNITED STA:TES DISTRICT COURT
                                                                  for the
                                                       Southern District of Florida


                    MARTA REYES, et al.                             )
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                           Plaintiff(s)                             )
                                                                    )
                               v.                                           Civil Action No. 1:20-cv-21108-UU
                                                                    )
          PEOPLE'S REPUBLIC OF CHINA, et al.                        )
                                                                    )
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                                                                    )
                          Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

 To:   (Defendant's name and address)     National Health Commission of the People's Republic of China
                                          Attn.: Ma Xiaowei
                                          No 1 Xizhimen Outer South Road, Xicheng District, Beijing, China 100044




           A lawsuit has been filed against you.

         Within 60 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose name and
address are:


                                          MATTHEWT. MOORE, ESQ.
                                          THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                          D/B/A BERMAN LAW GROUP
                                          POST OFFICE BOX 772789
                                          BOCA RATON, FL 33427
        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                                      Anger a E. Nobfe


              JUN 1 1 2020
 Date:
    Case 1:20-cv-21108-UU Document 43 Entered on FLSD Docket 06/11/2020 Page 3 of 7


                                                      I
                                 UNITED STAIE~r~ISTRICT COURT
                                                Southern District of Florida

                                                              )
                MARTA REYES, et al.
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                       Plaintiff(s)
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                           v.                                       Civil Action No. 1:20-cv-21108-UU
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        PEOPLE'S REPUBLIC OF CHINA, et al.                    )
                                                              )
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                                                              )
                      Defendant(s)                            )

                                          SUMMON'S IN A CIVIL ACTION

To: (Defendant's name and address) The People's Governemnt of City of Wuhan, China
                                   Attn.: Zhou Xianwang
                                   188 Yanjiang Ave, Jic;1ng'an District, Wuhan, Hubei, China, 430012




        A lawsuit has been filed against you.             ,

         Within 21 days after service of this summonJ on you (not counting the day you received it)-' or 60 days if you
are the United States or a United States agency, or anlofficer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or ~otion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: MATTHEWT. MOORE, ESQ.
                                 THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                 D/B/A BERMAN LAW GROUP
                                 POST OFFICE BOX 272789
                                 BOCA RATON, FL 33427


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with'the court.

                                                                      Angela E. Noble

         JUN 1 1 2020
Date:
    Case 1:20-cv-21108-UU Document 43 Entered on FLSD Docket 06/11/2020 Page 4 of 7


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                                     UNITED STAffES DISTRICT COURT
                                                                                I         for the
                                                                 Southern District of Florida


                    MARTA REYES, et al.                                                        )
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                           Plaintiff(s)                                                        )
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                               V.                                                                              Civil Action No. 1:20-cv-21108-UU
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          PEOPLE'S REPUBLIC OF CHINA, et al.                                                   )
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                          Defendant(s)                                                         )

                                                      SUMMO~S IN A CIVIL ACTION
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 To:   (Defendant's name and address)     The people's Government of Hubei Province
                                          Attn.: Wang Xiaodong
                                          7 Hongshan Road, Wuchang District, Wuhan, Hubei, China, 430071




           A lawsuit has been filed against you.

         Within 60 days after service of this summ~ns on you (not counting the day you received it) you must
serve on the plaintiff an answer to th~ attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose name and
address are:                                        :

                                          MATTHEW T. MOORE, ESQ.
                                          THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                          D/B/A BERMAN LAW GROUP
                                          POST OFFICE BOX 272789
                                          BOCA RATON, FL 33427
         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.
                                                               ,,,,,,~\ll1Ellt''•r,,,,                   Angela E. Noble
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             JUN 1 1 2020
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                                                                                                                            Signature of Clerk or Deputy Clerk

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    Case 1:20-cv-21108-UU Document 43 Entered on FLSD Docket 06/11/2020 Page 5 of 7



                                     UNITED STAJTES DISTRICT COURT
                                                              I    for the

                                                        Southr Dis~ict ofF!orida

                    MARTA REYES, et al.
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                           Plaintiff(s)                               )
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                               v.                                            Civil Action No. 1:20-cv-21108-UU
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          PEOPLE'S REPUBLIC OF CHINA, et al.                          )
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                                                                      )
                           Defendant(s)                               )

                                                   SUMMOtS IN A CIVIL ACTION

 To:   (Defendant's name and address)     People's Republic o~ China
                                          The State Council ofl the People's Republic of China
                                          Attn.: Li Keqiang
                                          2 Fuyou Street, Xich.eng District, Beijing, China 100017




           A lawsuit has been filed against you.

         Within 60 days after service of this summdns on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served. on the plaintiff or plaintiff's attorney, whose name and
address are:


                                          MATTHEWT. MOORE, ESQ.
                                          THE LAW OFFICES: OF BERMAN & BERMAN, P.A.
                                          D/B/A BERMAN LAW GROUP
                                          POST OFFICE !30~ 272789
                                          BOCA RATON, FL ~3427
         If you fail to respond, judgment by default will be entered against you for the, relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                               Angela E. Noble
    Case 1:20-cv-21108-UU Document 43 Entered on FLSD Docket 06/11/2020 Page 6 of 7



                                  UNITED STAlTES DISTRICT COURT
                                                          I     for the
                                                    Southern District of Florida


                 MARTA REYES, et al.                      I       )
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                        Plaintiff(s)                              )
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                            V.                                            Civil Action No. 1:20-cv-21108-UU
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         PEOPLE'S REPUBLIC OF CHINA, et al.                       )
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                       Defendant(s)                               )

                                                SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address) Wuhan Health Comtssiori
                                                    ,I
                                       Attn.: Zhang Hongxmg
                                       20 Jianghan Bei Road, Jiang'an District, Wt;_han, Hubei, China, 430014




         A lawsuit has been filed against you.

         Within.,60 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose name and
address are:


                                       MATTHEWT. MOORE, ESQ.
                                       THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                       D/B/A BERMAN LAW GROUP
                                       POST OFFICE BOX 2727,89
                                       BOCA RATON, FL 33427
         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
                                                                                                                 1
 Y ~u also must file your answer or motion with the court.

                                                                              Angela E. Noble


 Date:
    Case 1:20-cv-21108-UU Document 43 Entered on FLSD Docket 06/11/2020 Page 7 of 7



                                 UNITED STAlTES DISTRICT COURT
                                                      I    for the    .

                                                 Southr Di~ict of Florida

                 MARTA REYES, et al.
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                       Plaintiff(s)                          )
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                           V.                                        Civil Action No. 1:20-cv-21108-UU
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         PEOPLE'S REPUBLIC OF CHINA, et al.                  )
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                      Defendant(s)                           )

                                             SUMMONS IN A CIVIL ACTION

 To: (Defendant's name and address) Wuhan Institute of Virology, Chinese Academy of Sciences
                                    Attn.: Yanyi Wang
                                    Xiao Hong Shan No.44, Wuhan, Hubei, China, 430071




         A lawsuit has been filed against you.

         Within 60 days after service of this summons on yo~ (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and
address are:


                                      MATTHEWT. MOORE, ESQ.
                                      THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                      D/B/A BERMAN LAW GROUP
                                      POST OFFICE BOX 272789
                                      BOCA RATON, FL 33427
        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                          Angela E. l\ln le
                                                                          CLERK~
            JUN 1 1 2020
 Date:   ----------
                                                                                  Signature a/Clerk or Deputy Clerk
